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 2   Stephanie Verdoia (pro hac vice)                David L. Greenspan (pro hac vice)
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13
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14

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16                                  UNITED STATES DISTRICT COURT

17                            NORTHERN DISTRICT OF CALIFORNIA

18                                       OAKLAND DIVISION

19   IN RE COLLEGE ATHLETE NIL                         Case No. 4:20-cv-03919-CW
     LITIGATION
20                                                     PLAINTIFFS’ NOTICE OF FILING OF
                                                       REVISED SETTLEMENT DOCUMENTS
21

22
                                                       Hrg. Date:     September 5, 2024
23                                                     Time:          2:30 p.m.
                                                       Judge:         Hon. Claudia Wilken
24                                                     Courtroom:     2, 4th Floor
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     PLAINTIFFS’ NOTICE OF FILING                                           Case No. 4:20-cv-03919-CW

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 1
     NOTICE OF REVISED PROPOSED ORDER AND PROPOSED NOTICE DOCUMENTS
 2
              TO ALL PARTIES AND THEIR COUNSEL OF RECORD:
 3
              PLEASE TAKE NOTICE that, upon further review and in response to certain objections,
 4
     Plaintiffs identified potential minor revisions to the proposed notices and proposed order submitted
 5
     with their preliminary approval filings. See Plaintiffs’ Reply ISO Preliminary Approval of
 6
     Settlement, at 21 n. 19-20, 24, In re College Athlete NIL Litigation, No. 4:20-cv-03919-CW (N.D.
 7
     Cal., Aug. 16, 2024), ECF No. 494; Joint Declaration of Steve W. Berman and Jeffrey L. Kessler
 8
     in Further Support of Plaintiffs’ Reply ISO Motion for Preliminary Approval, at ¶¶ 17, 18, ECF
 9
     No. 494-1. These revisions include additional language clarifying that objections may be filed
10
     electronically and additional language clarifying that the scope of the release does not extend to
11
     claims in the Choh or Johnson cases. In addition, Plaintiffs have been notified by Defendants that
12
     certain member schools require specific language by court order to trigger the Family Educational
13
     Rights and Privacy Act (FERPA) notification process prior to providing class member contact
14
     information to Plaintiffs for notice of the settlement. Plaintiffs have revised the Proposed Order to
15
     incorporate this language. To provide the Court with a full opportunity to review those changes
16
     prior to the Preliminary Approval Hearing on September 5, 2024, Plaintiffs submit these revised
17
     documents with substantive changes identified in redline, and minor edits/formatting changes
18
     adopted. Plaintiffs will also submit these revised documents in Word format for the Court.
19
              Plaintiffs respectfully submit the following documents for the Court’s review:
20
              1. Revised Proposed Order Granting Plaintiffs’ Motion for Preliminary Settlement
21
                   Approval (Revised from ECF No. 451-2), attached hereto as Exhibit 1.
22
              2. Revised Long Form Notice (Revised from Ex. 5 to Peak Decl., ECF No. 450-5),
23
                   attached hereto as Exhibit 2.
24
              3. Revised Email Notice (Revised from Ex. 1 to Peak Decl., ECF No. 450-5), attached
25
                   hereto as Exhibit 3.
26
              4. Revised Postcard Notice (Revised from Ex. 2 to Peak Decl., ECF No. 450-5), attached
27
                   hereto as Exhibit 4.
28
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 1            5. Revised Claim Form (Revised from Ex. 6 to Peak Decl., ECF No. 450-5), attached

 2                 hereto as Exhibit 5.

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 1   DATED: August 28, 2024                          Respectfully submitted,

 2   By /s/ Steve W. Berman                          By /s/ Jeffrey L. Kessler
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 3
     Emilee N. Sisco (pro hac vice)                  David G. Feher (pro hac vice)
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21   Class Counsel for Plaintiffs
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 1                    ATTESTATION PURSUANT TO CIVIL LOCAL RULE 5-1(i)(3)

 2            Pursuant to Civil Local Rule 5-1(i)(3), the filer of this document attests that concurrence in

 3   the filing of this document has been obtained from the signatories above.

 4                                                  By: /s/ Steve W. Berman
                                                            STEVE W. BERMAN
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